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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHEN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

                     Plaintiff,

       v.                                                              Criminal No. 2:08cr5
                                                                                 (Maxwell)
SAMANTHA JANE CHIDESTER,

                     Defendant.

                                          ORDER

       It will be recalled that on July 17, 2008, Samantha Jane Chidester, the Defendant

in the above-styled criminal action, appeared before United States Magistrate Judge John

S. Kaull and entered a plea of guilty to Count Three of the Indictment in the above-styled

criminal action. It will further be recalled that, by Order/Opinion Regarding Plea of Guilty,

entered July 21, 2008, Magistrate Judge Kaull accepted the Defendant’s plea of guilty to

the charge contained in Count Three of the Indictment herein and recommended that the

Defendant be adjudged guilty on said charge and that she be sentenced accordingly.

       After a careful examination of the Order/Opinion Regarding Plea Of Guilty entered

by United States Magistrate Judge John S. Kaull on July 21, 2008, the Court ADJUDGES

the Defendant GUILTY of the crime charged in Count Three of the Indictment in the

above-styled criminal action and, Pursuant to Rule 11(c)(3)(A ) of the Federal Rules of

Criminal Procedure and Section 6B1.1(c) of the United States Sentencing Guidelines,

DEFERS acceptance of the proposed plea agreement.

       On October 7, 2008, the Court received from United States Probation Officer
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William C. Bechtold, Jr., the completed Presentence Report And Addendum in the above-

styled criminal action. Therefore, the Court believes that it is now appropriate to schedule

a sentencing hearing herein. Accordingly, it is

       ORDERED that a sentencing hearing shall be conducted in the above-styled

criminal action on February 5, 2009 at 10:00 a .m. at the Federal Courthouse in Elkins,

West Virginia. It is further

       ORDERED that on or before January 8, 2009, counsel for each party may submit

a sentencing memorandum directly to the Court. It is further

       ORDERED that counsel for any party desiring to respond to any sentencing

memorandum that has been submitted to the Court shall do so on or before January 22,

2009. It is further

       ORDERED that the sentencing memorandums, and any responses thereto, shall

be filed under seal with the Clerk of Court. It is further

       ORDERED that copies of the sentencing memoranda and any responses thereto

shall be served upon counsel for the opposing party and upon the United States

Probation Officer assigned to the case.

       The Clerk of Court is directed to transmit copies of this Order to counsel of record

and to the United States Probation Office.

       Enter: October     9th   , 2008

                                                              /s/ Robert E. Maxwell
                                                             United States District Judge




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